      Case 1:10-cv-06950-AT-RWL Document 376 Filed 04/13/15 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 H. CRISTINA CHEN-OSTER; LISA PARISI;
 and SHANNA ORLICH, on behalf of                    No. 10 Civ. 6950 (AT) (JCF)
 themselves and all others similarly situated,

                    Plaintiffs,
                                                    NOTICE OF MOTION TO
             -against-                              INTERVENE

 GOLDMAN, SACHS & CO. and THE
 GOLDMAN SACHS GROUP, INC.,

                         Defendants.



              PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law,

dated April 13, 2015, Plaintiffs will move this Court to intervene putative class members Mary

De Luis and Allison Gamba as proposed class representatives pursuant to Federal Rules of Civil

Procedure 24(a) and/or (b).



                                                   Respectfully submitted,

Dated: April 13, 2015                              LIEFF, CABRASER, HEIMANN &
                                                   BERNSTEIN, LLP

                                                   By:    /s/ Kelly M. Dermody
                                                              Kelly M. Dermody

                                                   Kelly M. Dermody (admitted pro hac vice)
                                                   Anne B. Shaver (admitted pro hac vice)
                                                   275 Battery Street, 29th Floor
                                                   San Francisco, CA 94111-3339
                                                   Telephone: (415) 956-1000
                                                   Facsimile: (415) 956-1008




                                               1
        Case 1:10-cv-06950-AT-RWL Document 376 Filed 04/13/15 Page 2 of 2




                                            LIEFF, CABRASER, HEIMANN &
                                            BERNSTEIN, LLP
                                            Rachel Geman
                                            250 Hudson St., 8th Floor
                                            New York, New York 10013-1413
                                            Telephone: (212) 355-9500
                                            Facsimile: (212) 355-9592

Dated: April 13, 2015                       OUTTEN & GOLDEN LLP

                                            By:    /s/ Adam T. Klein
                                                       Adam T. Klein

                                            Adam T. Klein
                                            Cara E. Greene
                                            Melissa L. Stewart
                                            3 Park Avenue, 29th Floor
                                            New York, New York 10016
                                            Telephone: (212) 245-1000
                                            Facsimile: (212) 977-4005

                                            OUTTEN & GOLDEN LLP
                                            Paul W. Mollica
                                            161 North Clark Street, Suite 4700
                                            Chicago, Illinois 60601
                                            Telephone: (312) 809-7010
                                            Facsimile: (312) 809-7011

                                            Attorneys for Plaintiffs and the Putative Class




                                        2
1225609.1
